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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION



UNITED STATES OF AMERICA                                                    PLAINTIFF


v.                               NO. 4:12CR00055-13 DPM


CADARRO GIBSON                                                            DEFENDANT




                                        ORDER


      The Government has filed the pending motion to revoke bond. SeeDocument 199.

In the motion, the Government asks the Court to issue a summons for defendant Cadarro

Gibson (“Gibson”) and schedule a hearing for him to appear and show cause why his pre-

trial release should not be revoked. The Court has reviewed the motion and finds that

it should be, and is, granted.

      The Clerk of the Court shall issue a summo
                                               ns. The summons shall contain the date,

time, and place of the hearing on the Government’s motion to revoke Gibson’s pre-trial

release.

      The hearing on the motion to revoke Gibson’s pre-trial release will be held

beginning at 9:30 a.m. on Thursday, November15, 2012, in Courtroom 2B of the Richard

S. Arnold United States Courthouse in Little Rock, Arkansas.
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      The portion of the motion seeking the ac tual revocation of Gibson’s pre-trial

release remains pending before the Court.

      IT IS SO ORDERED this    9     day of November, 2012.




                                            UNITED STATES MAGISTRATE JUDGE




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